   UNITED STATES BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF
                          MICHIGAN
                      SOUTHERN DIVISION

IN RE:

ELITE ROOF GROUP, LLC                                   Case No. 23-31987

               Debtor.                                   Chapter 11

                                               /         Judge: Joel D. Applebaum

     PLAN OF REORGANIZATION FOR DEBTOR UNDER SUBCHAPTER V OF
                            CHAPTER 11
                     OF THE BANKRUPTCY CODE

      Elite Roof Group, LLC (“Elite”), Debtor and Debtor in Possession in the above
captioned case, by and through their counsel, Simen, Figura and Parker, P.L.C. (“SFP”)
hereby submit Elite’s Plan of Reorganization for Debtor Under Subchapter V of Chapter 11 of the
Bankruptcy Code (the “Plan”) as follows:

                           ARTICLE I DEFINITIONS,
                                 RULES OF
                  INTERPRETATION AND COMPUTATION OF TIME

         1.1   Scope of Definitions.

       For purposes of this Plan, except as expressly provided otherwise or unless the
context requires otherwise, all capitalized terms not otherwise defined have the meanings
given them in Section 1.2 of this Plan. Any term used in this Plan that is not defined herein,
but is defined in the Bankruptcy Code or the Bankruptcy Rules, will have the meaning
given that term in the Bankruptcy Code or the Bankruptcy Rules.

         1.2   Definitions.
               1.2.1 “Administrative Claim” means certain Claims for payment of an
administrative expense of a kind specified in Section 503(b) of the Bankruptcy Code and
entitled to priority pursuant to Section 507(a)(2) and (3) of the Bankruptcy Code, including,
but not limited to, the actual, necessary costs and expenses, incurred on or after the Petition
Date, of preserving the Estate and operating the businesses of Debtor, including wages,
salaries, commissions for services rendered after the Petition Date, Professional Claims,
taxes accruing after the Petition Date, whether or not the last payment date is before or after
the Confirmation Date, any actual indebtedness or obligations incurred or assumed by the

                                               1
 23-31987-jda     Doc 32      Filed 03/14/24   Entered 03/14/24 10:11:34     Page 1 of 33
Debtor during the pendency of this Chapter 11 Case in connection with conducting the
Debtor’ businesses, any actual expenses necessary or appropriate to facilitate or effectuate
the Plan, and all Allowed Claims that are entitled to be treated as Administrative Claims
pursuant to a Final Order of the Bankruptcy Court under Section 546(c) of the Bankruptcy
Code, provided, however, that this term does not include any portion of Allowed Secured
Claims, whether or not all or part of any Allowed Secured Claim is entitled to priority under
Sections 503(b), 507, 363, or 364 of the Bankruptcy Code or otherwise.

              1.2.2 “Administrative Claims Bar Date” means the deadline for filing
proofs of or requests for payment of Administrative Claims (other than requests for
payment of Professional Fee Claims, which shall be thirty (30) days after the Effective Date,
except as otherwise specifically set forth in the Plan or a Final Order.

              1.2.3 “Administrative Claims Objection Bar Date” means the deadline for
filing objections to requests of payment of Allowed Administrative Claims (other than
requests for payment of Professional Fee Claims), which shall be the first Business Day that
is one hundred eighty (180) days following the Effective Date; provided that the
Administrative Claims Objection Bar Date may be extended by order of the Bankruptcy
Court.

              1.2.4    “Affiliates” has the meaning given it by Section 101(2) of the
Bankruptcy Code.

              1.2.5 “Allowed” means, when used in reference to a Claim or Interest
within a particular Class, an Allowed Claim or Allowed Interest of the type described in the
Class.


              1.2.6 “Allowed Claim” means a Claim or any portion of the Claim

                      a.     that has been Allowed by a Final Order of the Bankruptcy
Court (or such other court or forum with jurisdiction to adjudicate the Claim and objections
to it);


                  b.    as to which a Proof of Claim has been timely Filed with the
Bankruptcy Court pursuant to the Bankruptcy Code, but only to the extent that the
Claim is identified in the Proof of Claim in a liquidated and noncontingent amount, and
either (i) no objection to its allowance has been Filed within the periods of limitation fixed
by this Plan, the Bankruptcy Code, or by any order of the Bankruptcy Court, or (ii) any
objection as to its allowance has been settled or withdrawn or has been denied or overruled
by a Final Order;


                      c.       as to which no Proof of Claim has been Filed with the
                                             2
 23-31987-jda     Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34     Page 2 of 33
Bankruptcy Court and (i) which is Scheduled as liquidated in an amount other than zero
and not contingent or disputed, but solely to the extent of the liquidated amount and (ii)
no objection to its allowance has been Filed by Debtor, within the periods of limitation fixed
by this Plan, the Bankruptcy Code, or by any order of the Bankruptcy Court

              1.2.7   “Allowed Interest” means an ownership Interest in any Debtor,
which has been listed by such Debtor in its Schedules and related documents as liquidated
in an amount and not disputed or contingent; provided however, that proofs of Interest need
not be Filed in the Bankruptcy Court with respect to any Interests; and provided further,
however, that Debtor, in their discretion, may bring an objection or motion with respect to
a Disputed Interest before the Bankruptcy Court for resolution.

              1.2.8 “Avoidance Claims” means Causes of Action or defenses arising
under any of Sections 502, 510, 541, 542, 543, 544, 545, 547, 548, 549, 550, 551, or 553 of the
Bankruptcy Code, or under similar or related state or federal statutes and common law,
including fraudulent transfer laws, whether or not litigation has been commenced as of the
Confirmation Date to prosecute the Causes of Action, including, but not limited to, any
claims of any Affiliates and Insiders.

              1.2.9 “Ballot” means the official bankruptcy form 314 adopted for this
Chapter 11 Case or a document prepared to substantially conform to same which is
distributed with the Plan to Holders of Claims and Interests in connection with the
solicitation of votes for or against the Plan.

              1.2.10 “Bankruptcy Code” means Title 11 of the United States Code (11
U.S.C. §§ 101, et. seq.), as in effect on the Petition Date or as may be amended (to the extent
any such amendments are made applicable to the Chapter 11 Case.




                                              3
 23-31987-jda     Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34      Page 3 of 33
             1.2.11 “Bankruptcy Court” means the United States Bankruptcy Court for
the Eastern District Michigan, or such other court that may have jurisdiction over the
Chapter 11 Case.

              1.2.12 “Bankruptcy Rules” means the Federal Rules of Bankruptcy
Procedure and the Official Bankruptcy Forms, as amended, the Federal Rules of Civil
Procedure, as amended, as applicable to the Chapter 11 Case or proceedings in the Chapter
11 Case, and the Local Rules of the Bankruptcy Court.

              1.2.13 “Bar Date” means the deadlines set, or to be set, if any, by the
Bankruptcy Court for filing proofs of claim in the Chapter 11 Case, or otherwise
asserting any Claim against any Debtor, or, if no such deadline is set, as provided for
by the Bankruptcy Rules.

              1.2.14 “Beneficiaries” means all Creditors of the Debtor with Claims
treated under Articles III or IV of this Plan.

              1.2.15 “Business Day” means any day, excluding Saturdays, Sundays, and
“legal holidays” (as defined in Bankruptcy Rule 9006(a)), on which commercial banks are
open for business in Detroit, Michigan.

              1.2.16 “Elite” means the Debtor Elite Roof Group, LLC, a Michigan
limited liability company in 2021, Case No. 23-31987.

              1.2.17 “Cash” means legal tender of the United States of America and
equivalents thereof.

              1.2.18 “Causes of Action” means any and all actions, proceedings, causes
of action, suits, accounts, demands, controversies, agreements, promises, rights to legal
remedies, rights to equitable remedies, rights to payment, claims, and rights of appeal,
whether known, unknown, pending, not pending, reduced to judgment, not reduced to
judgment, liquidated, unliquidated, fixed, contingent, non-contingent, matured,
unmatured, disputed, undisputed, secured, or unsecured, and whether asserted or
assertible directly or derivatively in law, equity, or otherwise, including Avoidance Claims,
unless otherwise waived or released by Debtor to the extent the Cause of Action is a Cause
of Action held by any of the Debtor, including, but not limited to, any claims against any
Affiliates and Insiders.




                                                 4
  23-31987-jda     Doc 32    Filed 03/14/24      Entered 03/14/24 10:11:34   Page 4 of 33
              1.2.19 “Chapter 11 Case(s)” or “Case(s)” means this Subchapter V of Chapter
11 Case No 21387-jda currently pending in the United States Bankruptcy Court for the
Eastern District of Michigan.

             1.2.20 “Claim” means a claim against Debtor, or any one of them,
whether or not asserted, as defined in § 101(5) of the Bankruptcy Code.

              1.2.21 “Claimant” means any individual or entity which has a
valid Claim as defined herein.

              1.2.22 “Class” means a category of Holders of Claims or Interests as
described in Article IV of this Plan.

             1.2.23 “Client Trust Account” means the Simen, Figura and Parker P.L.C.
IOLTA (client trust) account.

              1.2.24 “Confirmation” means the entry of a Confirmation Order on the
docket of the Chapter 11 Case.

              1.2.25 “Confirmation Date” means the date of entry of the
Confirmation Order.

              1.2.26 “Confirmation Hearing” means the hearing before the Bankruptcy
Court held under Section 1128 of the Bankruptcy Code to consider Confirmation of this
Plan and related matters, as may be adjourned or continued from time to time.


              1.2.27 “Confirmation Objection Deadline” means the deadline set for filing
objections to confirmation of the Plan. Presently, the Confirmation Objection Deadline is
April 12, 2024, as set forth in the Court’s Order Establishing Deadlines and Procedures in the
Case of a Small Business Debtor who has Elected to have Subchapter V of Chapter 11, unless said
deadline is modified by the Bankruptcy Court.

              1.2.28  “Confirmation Order” means the order entered by the Bankruptcy
Court confirming this Plan under Section 1191 of the Bankruptcy Code.

              1.2.29 “Creditor” means any creditor of Debtor, or any one of them, as
defined in Section 101(10) of the Bankruptcy Code.




                                              5
  23-31987-jda    Doc 32     Filed 03/14/24   Entered 03/14/24 10:11:34      Page 5 of 33
             1.2.30 “Cure Claim” means the Claim of a party to an executory contract
with Debtor whose contract has been assumed by the Debtor for any amount which may
be required to cure a pre-petition default.

             1.2.31    “Debtor” means Elite Roof Group, LLC.

             1.2.32     “Disallowed Claim” means (a) a Claim, or any portion thereof, that
has been disallowed by a Final Order or a settlement, (b) a Claim or any portion thereof
that is Scheduled at zero or as contingent, disputed, or unliquidated and as to which a Bar
Date has been established but no Proof of Claim has been timely Filed or deemed timely
Filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final
Order of the Bankruptcy Court or otherwise deemed timely Filed under applicable law, or
(c) a Claim or any portion thereof that is not Scheduled and as to which a Bar Date has been
established but no Proof of Claim has been timely Filed or deemed timely Filed with the
Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the
Bankruptcy Court or otherwise deemed timely Filed under applicable law.

             1.2.33 “Disputed Claim” or “Disputed Interest” means a Claim or any
portion thereof, or an Interest or any portion thereof, that is neither an Allowed Claim nor
a Disallowed Claim, nor an Allowed Interest nor a Disallowed Interest.

            1.2.34 “Effective Date” means the first Business Day after the
Confirmation Order becomes a Final Order.

             1.2.35 “Entity” has the meaning set forth at Section 101(15) of the
Bankruptcy Code.

             1.2.36 “Estate” means the bankruptcy estates of Debtor, or of any
particular Debtor, as the context requires, created pursuant to Section 541 of the
Bankruptcy Code upon the commencement of the Chapter 11 Case.




                                             6
 23-31987-jda     Doc 32    Filed 03/14/24   Entered 03/14/24 10:11:34     Page 6 of 33
              1.2.37 “Exhibit” means any exhibit or schedule attached to this Plan or
incorporated by reference to the Plan, including any amendments and supplemental
exhibits or schedules that may be filed subsequent to filing of the Plan.

             1.2.38 “File” means to file with the Bankruptcy Court in the Chapter 11
Case or such other court with jurisdiction over the relevant subject matter.

              1.2.39 “Final Decree” means the decree contemplated under
Bankruptcy Rule 3022.

              1.2.40 “Final Order” means an order or judgment, the operation or effect
of which has not been reversed, stayed, modified, or amended, and as to which order or
judgment (or any reversal, stay, modification, or amendment thereof) (a) the time to appeal,
seek certiorari, or request re-argument or further review or rehearing has expired and no
appeal, petition for certiorari, or request for re-argument or further review or rehearing has
been timely Filed, or (b) any appeal that has been or may be taken or any petition for
certiorari or request for re-argument or further review or rehearing that has been or may
be Filed has been resolved by the highest court to which the order or judgment was
appealed, from which certiorari was sought, or to which the request was made, and no
further appeal or petition for certiorari or request for re-argument or further review or
rehearing has been or can be taken or granted.

              1.2.41 “General Unsecured Claim” means any Claim that is not
otherwise an Administrative Claim, Professional Fee Claim, Priority Tax Claim, Priority
Claim, or Secured Claim.

              1.2.42 “General Unsecured Claim Payment” means the payment, if
Reorganized Debtor has sufficient funds, to be made to Holders of General Unsecured
Claims as set forth in Sections 4.4, 4.10 and 4.15.

              1.2.43 “Governmental Unit” has the meaning set forth at Section
101(27) of the Bankruptcy Code.

              1.2.44 “Holder” means a Person holding a Claim, Interest, or Lien.

             1.2.45 “Impaired” refers to any Claim or Interest that is impaired
within the meaning of Section 1124 of the Bankruptcy Code.

              1.2.46 “Insider” has the meaning set forth at Section 101(31) of the
Bankruptcy Code.




                                             7
 23-31987-jda     Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34     Page 7 of 33
            1.2.47 “Interest” means the legal, equitable, contractual, and other rights of
any Person with respect to equity securities of, or ownership interests in any of the Debtor.

              1.2.48 “Interest Rate” means, with respect to Claims entitled to interest
under the Bankruptcy Code and this Plan, the interest being paid or earned on a five-
year Treasury Note as published by the Wall Street Journal on the Effective Date, or
such other interest rate as may be determined by a Final Order of the Bankruptcy Court.


              1.2.49 “IRC” means the Internal Revenue Code of 1986, as
amended.

              1.2.50 “IRS” means the Internal Revenue Service.

              1.2.51 “Lien” has the meaning set forth at Section 101(37) of the
Bankruptcy Code.

              1.2.52 “Person” means an individual, corporation, partnership, joint
venture, association, joint stock company, limited liability company, limited liability
partnership, trust, estate, unincorporated organization, Governmental Unit, or other
Entity.

                 1.2.53 “Petition Date” means December 14, 2023, the date Debtor Elite
filed its petition for relief in the Bankruptcy Court commencing the Chapter 11 case.

              1.2.54 “Plan” means this plan for the resolution of outstanding Claims and
Interests in the Chapter 11 Cases, including all Exhibits, supplements, appendices, and
schedules, either in its present form or as it may be altered, amended or modified in
accordance with the Bankruptcy Code and Bankruptcy Rules.

              1.2.55 “Plan Proponent” means the Debtor.

              1.2.56 “Priority Claim” means any Claim entitled to priority pursuant to
Section 507(a) of the Bankruptcy Code.

              1.2.57 “Priority Tax Claim” means a Claim entitled to priority
pursuant to Section 507(a)(8) of the Bankruptcy Code.




                                             8
 23-31987-jda     Doc 32    Filed 03/14/24   Entered 03/14/24 10:11:34     Page 8 of 33
              1.2.58 “Proof of Claim” means a proof of Claim Filed against any of
the Debtor in the Chapter 11 Case.

              1.2.59 “Property of the Estate” has the meaning set forth in
Sections 541 and 1186 of the Bankruptcy Code.

              1.2.60 “Pro Rata” means with respect to Claims, at any time, the proportion
that the Face Amount of a Claim in a particular Class or Classes bears to the aggregate Face
Amount of all Claims (including Disputed Claims, but excluding Disallowed Claims) in
such Class or Classes, unless this Plan provides otherwise in such Class or Classes.

              1.2.61 “Professional” means any Person retained in the Chapter 11 Case by
Bankruptcy Court order pursuant to Sections 327 of the Bankruptcy Code or otherwise,
and the Subchapter V Trustee.

              1.2.62 “Professional Fee Claim” means an Administrative Claim of a
Professional for compensation for services rendered or reimbursement of costs, expenses,
or other charges and disbursements incurred relating to services rendered or expenses
incurred after the Petition Date and before and including the Effective Date.

              1.2.63 “Projected Disposable Income” means each Debtor’ projected
disposable income for the first five (5) years after the Effective Date, which, as
demonstrated in the financial projections attached as Exhibit C.


              1.2.64 “Related Parties” means, with respect to any Person or Entity, such
Person’s or Entity’s direct and indirect current and former Affiliates, subsidiaries, partners
(including general partners, and limited partners), investors, managing members,
members, officers, directors, principals, employees, managers, controlling persons,
guarantors, agents, attorneys, Professionals, advisors and representative, each in their
capacity as such.

               1.2.65 “Released Parties” means, individually and collectively, in each case
solely in their capacity as such, each and all of: (a) the Debtor, and (b) the Related Parties
of the Debtor.

              1.2.66 “Releasing Parties” means, individually and collectively, (a) each
Holder of a Claim or Equity Interest that (i) votes to accept the Plan, (ii) is deemed to have
accepted the Plan or is otherwise unimpaired, (iii) is entitled to vote to accept or reject the
Plan but either (x) abstains from voting on the Plan, or (y) votes to reject the Plan and, in the
case of (x) or (y) does not opt out of the voluntary releases




                                               9
  23-31987-jda     Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34       Page 9 of 33
contained in the Plan by checking the opt out box on the ballot and timely returning it in
accordance with the instructions set forth therein, or (iv) is deemed to have rejected the Plan
and does not opt out of the release contained in the Plan; and (b) the Related Parties of the
foregoing.

              1.2.67 “Reorganized Debtor” means the Debtor, or any one of them, from
and after the Effective Date.

              1.2.68 “Retained Actions” means all Claims, Causes of Action, rights of
action, suits, and proceedings, whether in law or in equity, whether known or unknown,
which any Debtor or Debtor’s Estate may hold against any Person, including, without
limitation, Claims and Causes of Action brought before the Effective Date or identified in
the Schedules or Disclosure Statement, other than Claims explicitly released under this
Plan or by Final Order of the Bankruptcy Court before the date of this Plan.

              1.2.69 “Scheduled” means, with respect to any Claim, the status,
priority and amount, if any, of such Claim as set forth in the Schedules.

             1.2.70 “Schedules” means the schedules of assets and liabilities
and the statements of financial affairs Filed in the Chapter 11 Case by each
Debtor.


              1.2.71 “Secured Claim” means a Claim secured by a security interest in or a
lien on property in which a Debtor’s Estate has an interest or that is subject to setoff under
Section 553 of the Bankruptcy Code, to the extent of the value, as of the Effective Date or
such other date as is established by the Bankruptcy Court, of such Claim Holder’s interest
in the applicable Estate’s interest in such property or to the extent of the amount subject to
setoff, as applicable, as determined by a Final Order of the Bankruptcy Court pursuant to
Section 506(a) of the Bankruptcy Code or, in the case of setoff, pursuant to Section 553 of the
Bankruptcy Code, or as otherwise agreed upon in writing by a Debtor and the Holder of
such Claim.

              1.2.72 “Security” has the meaning set forth at Section 101(49) of
the Bankruptcy Code.

              1.2.73 “Subchapter V” refers to Sections 181 through 1195 of the
Bankruptcy Code.




                                              10
 23-31987-jda     Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34     Page 10 of 33
              1.2.74 “Subchapter V Trustee” means Kimberly Ross Clayson,
the trustee appointed in the Chapter 11 Case pursuant to Section 1183 of the
Bankruptcy Code.

             1.2.75 “Unimpaired” means, with respect to a Claim or class of
Claims, any Claim treated under this Plan that leaves unaltered the legal, equitable,
and contractual rights of such Claim.

             1.2.76 “Unsecured Claim” means a Claim that is neither a Secured
Claim, Administrative Claim, or Priority Claim.

             1.2.77 “Voting Deadline” means the deadline set for the receipt of
Ballots by Debtor or Debtor’ agent as set by the Bankruptcy Court. Presently, the Voting
Deadline is April 12, 2024 as set forth in the Court’s Order Establishing Deadlines and
Procedures in the Case of a Small Business Debtor who has Elected to have Subchapter V of
Chapter 11 Apply, unless said deadline is modified by Order of the Bankruptcy Court.

      1.3 Rules Of Interpretation: For purposes of this Plan, unless otherwise
provided herein:

             1.3.1     Whenever from the context it is appropriate, each term, whether
stated in the singular or the plural, includes both the singular and the plural.

             1.3.2    Each pronoun stated in the masculine, feminine, or neuter
includes the masculine, feminine and neuter.

             1.3.3     Any reference in this Plan to an existing document or schedule Filed
or to be Filed means the document or schedule, as it may have been or may be amended,
modified or supplemented. Except as otherwise ordered by the Bankruptcy Court, all
Exhibits, as amended, modified or supplemented, are incorporated by reference into this
Plan for all purposes.

              1.3.4 Any reference to an Entity or Person as a Holder of a Claim or Interest
includes that Entity’s or Person’s successors and assigns. Any reference to a Debtor
includes the Reorganized Debtor for all periods after the Effective Date.

             1.3.5     Any reference in the Plan to a contract, instrument, release,
indenture, or other agreement or document being in a particular form or on particular




                                            11
 23-31987-jda    Doc 32    Filed 03/14/24   Entered 03/14/24 10:11:34     Page 11 of 33
terms and conditions means that the document shall be substantially on such terms and
conditions.

              1.3.6     The words “herein,” “hereunder,” and “hereto” refer to this
Plan in its entirety rather than to a particular portion of this Plan.

              1.3.7      Subject to the provisions of any contract, certificates of
incorporation, by-laws, instruments, releases, or other agreements or documents entered
into in connection with this Plan, the rights and obligations arising under this Plan will be
governed by, and construed and enforced in accordance with, federal law, including the
Bankruptcy Code and Bankruptcy Rules. To the extent that reference to state law is
required, the Plan is governed by the substantive law of Michigan, without giving effect to
it conflict of laws principles.


       1.4    Computation of Time. In computing any period of time prescribed
orallowed by this Plan, unless otherwise expressly provided, the provisions of
Bankruptcy Rule 9006 apply. Whenever any action is required to be performed or
a deadline expires on a specific date, if the date falls on a Saturday, Sunday or legal
holiday (as defined in Bankruptcy Rule 9006), the action may be performed, or the
deadline will expire, on the next day that is not a Saturday, Sunday or legal
holiday.

       1.5   References to Monetary Figures. All references in this Plan to
monetary figures refer to currency of the United States of America.

       1.6       Exhibits. All Exhibits are incorporated into and are a part of this Plan as if
set forth in full herein and, to the extent not attached to this Plan, the Exhibits shall be filed
with the Bankruptcy Court. Upon its filing, the Exhibit may be inspected in the office of the
clerk of the Bankruptcy Court or its designee during normal business hours (subject to current
COVID-19 restrictions) or at the Bankruptcy Court’s website for a fee at
https://ecf.mieb.uscourts.gov. The Exhibits may also be requested in writing from Debtor’
counsel. All Exhibits may be revised before the Confirmation Date by the filing of the
revised Exhibits with the Bankruptcy Court, so long as the revised Exhibits are
substantially in conformance with the terms of this Plan. The Exhibits are an integral part
of the Plan, and entry of the Confirmation Order by the Bankruptcy Court will constitute
an approval of the Exhibits.




                                               12
 23-31987-jda     Doc 32     Filed 03/14/24    Entered 03/14/24 10:11:34       Page 12 of 33
       1.7     No Admissions; Estimates of Claims. Unless expressly stated otherwise,
nothing herein will be deemed to be an admission by Debtor or to otherwise prejudice
Debtor in any Claim objection or Cause of Action. All estimates of Causes of Action and
Claim amounts listed in this Plan and Exhibits are current estimates only. All Claim
amounts and classifications remain subject to the Claim objection process as set forth in
Article VIII.


                                       ARTICLE II

                                    BACKGROUND

      2.1    Description and History of the Debtor’ Businesses.

       Elite Roof Group originally operated as an assumed name of another entity, Keen
Contracting. In July, 2021, Elite Roof Group, LLC was formed as a separate Michigan
limited liability company with a single member, Matthew Camargo. Initially, Elite did only
subcontracting work and was successful. As business grew it added salespeople, two
business managers and a director of operations.
       At all times during its history Elite has been owned and operated solely by Matthew
Camargo who has substantial experience as a roofing contractor. Mr. Camargo entered the
construction business immediately after graduating from high school in 1994, working in
the industry while attending college. In 2005, Mr. Camargo moved to Florida and began
working for KS Builders in Gainesville. With the exception of a brief time in the financial
industry in 2012, Mr. Camargo has been in roofing/contractor his entire adult life. Mr.
Camargo intends to stay with Elite and do whatever is necessary to continue the business
and complete this plan.

      2.2.   Events Leading to the Filing of these Cases.

       This case was filed due largely to pre-bankruptcy state court litigation. As Mr.
Camargo acknowledged during Elite’s 341 meeting there was insufficient oversight as
salespeople and managers were ordering materials for jobs without obtaining sufficient
deposits or other assurance of repayment.
       As a result, Elite was unable to pay its suppliers and faced lawsuits from ABC
Supply, Roz Port Services, Skyworks, LLC and SRS Distribution, Inc. The most significant
consequence of this litigation was a judgment in the amount of $1,338,768.00 obtained by
ABC in the Genesee County Circuit Court on November 17, 2023. Despite diligent efforts
to resolve its obligations pre-filing, Elite was faced with a choice of filing this case or
liquidating.

      2.3    Events of Significance Since Filing Chapter 11.
                                            13
 23-31987-jda    Doc 32    Filed 03/14/24   Entered 03/14/24 10:11:34    Page 13 of 33
               2.3.1. Business Activities. Since filing, Mr. Camargo has initiated controls
designed to insure that the financial management issues that led to this case being filed. All
material orders go through him directly, and nothing is ordered without a signed contract
and deposit. As a result, the Elite is operating at profit. The expectation is that gross sales
will be lower than in the past, but by operating at a size that its principal can maintain
control of Elite believes it will be able generate stable profits necessary to fund a plan. Elite
had paid Mr. Camargo $2,500.00 per week, but he has received significantly less
compensation in recent months as the company addressed its financial challenges.
               2.3.2. Accounting Changes. Mr. Camargo has learned “JobNimbus” a
software package designed specifically to assist contractors in tracking costs, revenues and
other aspects of their business. Mr. Camargo is also doing his own internal accounting
using Quickbooks. These changes have allowed Elite to better control its finances. In
addition, at the suggestion of the Subchapter V trustee Kimberly Clayson, Elite has opened
three separate accounts with ELGA Credit Union for customer deposits, operations and
payroll. Finally, Elite has focused its sale/business acquisition efforts on subcontracting
jobs with companies such as Erie, Ameri-Pro, Kingston Roofing and Wegner Roofing which
provides a more reliable stream of revenue than individual consumer work.


        2.4.       Assets and Liabilities.

               2.4.1. Liquidation Analysis Debtor’ liquidation analysis is attached as Exhibit
A
                       a.       All values stated in the Liquidation Analysis for assets,
liabilities, costs, expenses and potential recoveries are based on good faith estimates using
information currently available to Debtor. The estimates have not been audited and a formal
appraisal has not been performed. Cash on hand will change as the Debtor continue to
operate until Confirmation. All valuations are necessarily estimates and actual results may
result in higher or lower recoveries.

                    b.   Unless otherwise noted, Debtor has used the liabilities set forth
in the Proofs of Claims and Schedules. These amounts are subject to adjustment and
objections by Debtor.

                       c.     Costs of liquidation are estimates.

                       d.   The estimates and values shall not be construed to constitute
binding guaranties, representations, or admissions and they are not warrantied in any way.
They are subject to revision at any time.


                                               14
    23-31987-jda    Doc 32    Filed 03/14/24   Entered 03/14/24 10:11:34      Page 14 of 33
                      e.     Avoidance Actions are not included in the liquidation analysis.
 Although, as set forth herein, the Debtor has not engaged in an analysis of such Causes of
 Action, Debtor believe that recipients of funds which could be recoverable in connection
 with Avoidance Actions would have defenses that would make significant recovery
 unlikely.


                      f.     Debtor has assumed a hypothetical conversion date of
July 1, 2024.

                      g.       The cessation of Debtor’ business in a Chapter 7 liquidation is
 likely to trigger certain claims which would not otherwise exist under the proposed Plan.
 Examples of such claims include, but are not limited to, tax liabilities, employee claims,
 claims related to additional rejection of executory contracts, and litigation claims. While
 some of these claims could be significant, no adjustment has been made for these potential
 claims unless specified in the Liquidation Analysis.

                      h.      The Liquidation Analysis assumes that a Chapter 7 Trustee will
 attempt to sell assets as quickly as possible. Adjustments to the value of certain assets have
 been made to account for this.

                      i.      The Liquidation Analysis assumes that a Chapter 7 Trustee will
 retain professionals to perform certain duties in connection with the cases. It is assumed
 that existing professionals would be replaced with new professionals selected by the Chapter
 7 Trustee.

                      j.   The value of certain Causes of Action held by Debtor are listed
 as unknown, but are mainly general accounts receivable incurred in the ordinary course of
 business and two issues with customers with unknown collectability.

        2.4.3 Debtor’ Conclusions

        As shown in Exhibit A and herein, the Debtor believe that a liquidation of the
 Debtor’ assets under Chapter 7 of the bankruptcy code would result in a significant
 reduction in the value to be realized by creditors as compared to the distributions
 contemplated under the Plan. Accordingly, the Debtor believe that confirmation of the Plan
 will provide a significantly greater return as compared to a liquidation.


        2.5.    Ability to make future plan payments and operate without further
                reorganization.
       Elite must also show that it will have enough cash over the life of the Plan to make
 the required Plan payments and operate the Debtor’s business. In support of this
                                              15
  23-31987-jda    Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34      Page 15 of 33
requirement, Elite has provided projected financial information as Exhibit B.
       Elite’s financial projections show that the Debtor will have projected disposable
income (as defined by §1191(d) of the Bankruptcy Code) for the period described in
§1191(c)(2) of $638,226.00 for Elite (the total plan . The final Plan payment is expected to be
paid on or about June 30, 2029. These projections are based on Debtor’s principal’s
experience since reducing the size of the business and his 30 year experience in
contracting/roofing.


       2.6.   Identification of all potential avoidance actions and causes of action,
              including against insiders.

      Elite has not undertaken an analysis of what Causes of Acton it may have under
Chapter 5 of the Bankruptcy Code and the potential defenses thereto, and cannot make any
representations as to their value. However, the Debtor have filed detailed schedules and
statements of financial affairs that disclose the Debtor’ relevant pre-petition transfers.

       Elite reserves the right to collect all accounts receivable and all other amounts due
Debtor for any reason whatsoever (whether owed to Debtor pursuant to contract rights,
quasi contract, tort law, refund rights, deposits, or for any other reason). The Debtor
reserves all setoff and recoupment rights of all kinds. The Debtor reserve the right to
commence avoidance actions pursuant to 11 U.S.C. §§ 544, 545, 547, 548, 549 and 550 (the
“Avoidance Claims”). Accordingly, the Debtor may have potential causes of action and
reserve their right to bring a lawsuit against any entity listed on Debtor’ Schedules (as filed
with the Bankruptcy Court) as owing a debt to the Debtor, and any entity listed on their
Statement of Financial Affairs (as filed with the Bankruptcy Court) as having received a
transfer from the Debtor. More specifically, and without waiving any other claim, the
Debtor may seek to avoid from any direct or indirect transferee, (i) under § 547 of the Code,
any transfer of an interest of the Debtor in property which occurred within 90 days of the
Petition Date, or, for insiders of the Debtor, within one year of the Petition Date; (ii) under
§ 544(a) and 545, any liens asserted against the Debtor, (iii) under §§ 544(b) and 548, any
actual or constructive fraudulent transfers or obligations, and (iv) under § 549, any
unauthorized post-petition transactions.

       In addition, Elite reserves the right to collect and pursue all Causes of Action
arising before or after the Petition Date against any and all Persons with which the Debtor
have contractual, trade or account relations, including all Causes of Action relating to
breaches of contract, collection of accounts receivable, breach of warranties or
representations, supply of non-conforming or deficient goods or services, overpayments,
credits, setoffs, demands for turnover of property, and any other Causes of Action that the
Debtor may have arising under applicable state or federal law of any nature whatsoever.
Further, the Debtor reserve the right to collect and pursue all Causes of Action arising
before or after the Petition Date against any and all Persons who may have owed a duty to
Debtor, breached a contract with the Debtor, or who may be liable to Debtor under
                                              16
 23-31987-jda     Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34     Page 16 of 33
applicable state or federal law of any nature whatsoever as a direct or indirect result of the
Persons’ actions which interfered with Debtor’ business activities

       For the avoidance of doubt, Debtor does not limit the scope of the Causes of Action
they retain and may pursue to those claims which may be held by Debtor. Debtor under
the Plan and the Reorganized Debtor retain discretion to litigate, settle or abandon any
Causes of Action, including Avoidance Claims.

       2.7.   Priority claims and anticipated administrative claims.

      The Claims listed herein are for description purposes only and not an admission by
the Debtor or any other person. The Debtor reserve the right to contest the amount of any
Claim, or the priority or extent thereof.

        While it is impossible to accurately estimate administrative expenses as of the date
of filing the Plan as such estimate depends on various unknown factors, including the total
duration of the Chapter 11 Case and the nature and extent of additional administrative
expenses, including professional expenses.

         As of the date of filing the Plan, the Debtor are not aware of any Priority Claims.
The Debtor reserve the right to contest the amount and priority of any other Priority Claim
filed in this Chapter 11 Case and nothing in the Plan shall be deemed an admission by the
Debtor.
         The Debtor anticipate the following Administrative Claims:

                                      Estimated
              Claimant                                      Priority/Administrative
                                       Amount
        Simen, Figura and
           Parker P.C.                $25,000.00 to              Administrative
                                         $35,000
                                       (depending
                                       of whether
                                      confirmation
                                      is contested)
         Roy, Noye and                  $2,000.00                Administrative
            Warren
        Kimberly Clayson                $5,000.00                Administrative
                                         (maybe
                                         higher if
                                      confirmation
                                      is contested)



                                             17
 23-31987-jda    Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34      Page 17 of 33
       2.8.    Total of all non-priority unsecured claims, including undersecured
               claims.

       The Claims listed in exhibit C are for description purposes only and not an admission
by the Debtor or any other person. The Debtor reserve the right to contest the amount,
classification, and priority of any Claim, and if applicable, any asserted security interest or
Lien, or the priority or extent thereof. Nothing in the Plan shall be deemed an admission by
the Debtor. Further information on Claims can be found by accessing the claims register on
the Bankruptcy Court's website.


       2.9.    Information regarding guaranteed debt or persons co-liable with
               Debtor on any debt.

       Debtor’ Schedules set forth, on Schedule H of each set of Schedules, all co- debtor
obligations and liabilities. The Debtor reserve the right to contest the amount of any Claim,
and if applicable, any asserted security interest or Lien, or the priority or extent thereof.

       2.10. Plan Summary
      This Plan proposes to pay Creditors of Elite from the Debtor’ cash flow from
operations and future income.


                                 ARTICLE III
              CLAIMANTS THAT ARE NOT SUBJECT TO CLASSIFICATION AND
              ARE NOT ENTITLED TO VOTE ON THE PLAN: ADMINISTRATIVE
                              AND PRIORITY CLAIMS

       3.1     Administrative Claims

       Known administrative claims in these cases are held by the Subchapter V Trustee
Kimberly Ross Clayson, the attorneys for the Debtor, Simen, Figura & Parker, PLC, and Roy,
Noye and Warren, the accountant whose retention was approved by this Court. The
treatment of these claims is discussed below.

       3.2     Expenses of Operations

       Expenses of Operations include all liabilities based on the ordinary course of
business after the Petition Date, and Claims allowed pursuant to Section 503(b) of the
Bankruptcy Code, including applicable tax claims. The Debtor does not believe any Section
503(b) claims exist.


                                              18
  23-31987-jda    Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34     Page 18 of 33
              3.2.1 Unless otherwise agreed to by the Holder of an Allowed
Administrative Claim and the Debtor, to the extent any Allowed Administrative Claim has
not already been paid in full or otherwise satisfied during this Chapter 11 Case, each
Holder of an Allowed Administrative Claim will (i) be paid any retainer and then in four
(4) equal monthly installments, with the first payment due thirty (30) days after the
Effective Date, and the following three (3) installment payments due on the same date of
each month thereafter, or (ii) if the Allowed Administrative Claim is based on liabilities
incurred by the Estate in the ordinary course of business after the Petition Date, it will be
paid pursuant to the terms and conditions of the particular transaction giving rise to such
Allowed Administrative Claim without further action by the Holder of such Allowed
Administrative Claim.

              3.2.2 Except as otherwise provided by a Final Order previously entered by
the Bankruptcy Court or as provided herein, unless previously filed, requests for payment
of Allowed Administrative Claims, except for any Professional Fee Claims against the
Reorganized Debtor, must be filed and served on the Debtor on or before the
Administrative Claims Bar Date pursuant to the procedures specified in the Confirmation
Order and the Notice of Entry of the Confirmation Order. Holders of Allowed
Administrative Claims that are required to file and serve a request for payment of such
Allowed Administrative Claims that do not file and serve such a request by the
Administrative Claims Bar Date shall be forever barred, estopped and enjoined from
asserting such Claims against the Debtor or their property, and such Claims shall be
deemed discharged as of the Effective Date. Objections to such requests must be filed
and served on the requesting party by the Administrative Claims Objection Bar Date.

       3.3      Professional Fee Claims.

       The holders of Professional Fee Claims shall consist of, without limitation, the
Professional Fee Claims, if and when allowed, and may include, without limitation Simen,
Figura and Parker P.L.C., fees and costs, (ii) Roy, Noye and Warren’s fees and costs, (iii) the
Subchapter V Trustee’s fees and costs.
               3.3.1 Final Fee Applications. All final requests for payment of Professional
Claims must be Filed no later than thirty (30) days after the Confirmation Date. After notice
and a hearing in accordance with the procedures established by the Bankruptcy Code, the
Bankruptcy Rules and prior orders of the Bankruptcy Court, the Allowed amounts of such
Professional Fee Claims and expenses will be determined by the Bankruptcy Court and
paid (i) from funds held in trust by any Professional, or in four (4) equal installments due
on the first business day of the month after entry of a Final Order allowing such fees, and
then continuing for the next three (3) consecutive months

             3.3.2 Post-Confirmation Date Retention. Upon the Confirmation Date, any
requirement that Professionals comply with Sections 327 through 331 of the Bankruptcy
Code in seeking retention or compensation for services rendered after such date or to make
                                             19
 23-31987-jda     Doc 32   Filed 03/14/24    Entered 03/14/24 10:11:34      Page 19 of 33
any disclosures pursuant to Bankruptcy Rules 2014 and 2016 will terminate, and Debtor
shall employ and pay Professionals in the ordinary course of business.

       3.4    Priority Tax Claims.
              3.4.1    Debtor believes there are no Priority Tax Claims. In the event a
Priority Tax Claim is filed, the Holder of an Allowed Priority Tax Claim shall be entitled to
receive, on account of its Allowed Priority Tax Claim, in full satisfaction, settlement,
release, and discharge of, and in exchange for, such Allowed Priority Tax Claim, payment
in cash of the outstanding amount of the Allowed Priority Tax Claim in four (4) equal
monthly payments, with the first payment commencing sixty (60) days after the Effective
Date and subsequent payments made on the same date of each of the three months
thereafter. For the avoidance of doubt, all taxes of the type entitled to priority under 11 U.S.C.
Section 507(a) that have been assessed prior to the Petition Date are subject to this Section
3.4.Debtor reserve the right to continue or commence a challenge to any Priority Tax Claim
through the claims objection process set forth in Article VIII of this Plan or through any
appropriate adjudicative body with necessary jurisdiction, which challenge may include,
but need not be limited to, a challenge to any penalty portion of such Claim, the amount
and the value of the property which forms the basis for any assessment of taxes and the
computation of the tax. The right to challenge these claims includes, without limitation, an
objection to the assessment of Debtor’ personal property that may or may not have been
made by the respective taxing authority.

       3.5     Substantial Contribution Compensation and Expenses Bar Date. Any
Person who requests compensation or expense reimbursement for making a substantial
contribution in the Chapter 11 Case pursuant to Sections 503(b)(3) ,(4), and (5) of the
Bankruptcy Code must File an application with the clerk of the Bankruptcy Court on or
before the Administrative Claims Filing Date and serve such application on counsel for
Debtor and other parties as may be directed by the Bankruptcy Court on or before such
date, or be forever barred from seeking such compensation or expense reimbursement. The
Court will determine any timely filed request for compensation or expense reimbursement
made under this Section 3.5, and Debtor shall pay any Allowed amount in four (4) equal
monthly installments, with the first payment commencing sixty (60) days after the Effective
Date, and the following three (3) installment payments due on the same date of each month
thereafter, unless otherwise agreed to in writing by Debtor and the claimant.

       3.6    Other Administrative Claims. All other requests for payment of an
Administrative Claim (other than as set forth in Section 3.5 of this Plan) must be Filed and
served on Debtor’ counsel by the Administrative Claims Filing Date, except that any
Administrative Claim not already Filed and required to have been Filed before the
Administrative Claims Bar Date is automatically disallowed. Any request for payment of an
Administrative Claim pursuant to this Section 3.6 that is not timely Filed and served is
automatically disallowed without the need for any objection by Debtor. After the Effective
Date, Debtor may settle an Administrative Claim without further Bankruptcy Court

                                               20
 23-31987-jda     Doc 32     Filed 03/14/24    Entered 03/14/24 10:11:34       Page 20 of 33
approval. Unless any Debtor objects to an Administrative Claim by the Administrative
Claims Objection Bar Date (unless such objection period is extended by the Bankruptcy
Court), the Administrative Claim will be deemed Allowed in the amount requested.
In the event that a Debtor objects to an Administrative Claim, the Bankruptcy Court
will determine the Allowed amount of the Administrative Claim.


                              ARTICLE IV
         SPECIFICATION OF TREATMENT OF CLASSES OF CLAIMS OR
      INTERESTS NOT IMPAIRED UNDER THE PLAN AND THOSE IMPAIRED
                           UNDER THE PLAN

       The Plan provides for the treatment of Creditors of Elite as follows:


       4.1 Class I. Class I shall consist of the holders of Allowed Unsecured
Claims against Elite. Each Holder of Class I Claims shall receive a Pro Rata
distribution attributable to its Allowed General Unsecured Claim based on monthly
payments each year by the Debtor from the Debtor’s Projected Disposable Income
for a period of 5 years. The first payment shall be the first day of the month not less
than 60 days after the Effective Date. Such payments shall continue to be made
monthly on the first day of each calendar quarter thereafter for a period of 5 years
from the first payment. For the initial 24 months of payments each monthly plan
payment shall total $10,000.00 during the months of April through November and
$5,000 during the months of December through March, to be divided Pro Rata. For
the next 24 months, the monthly payments shall increase to $15,000 in the months
of April through November and $7,500 during the months of December through
March. Finally, during last 12 months of the plan, the monthly payments shall be
$20,000.00 per month in April through November and $10,000.00 in December
through March. This will result in a total, gross payment to unsecured creditors of
$665,000.00.

This Class is Impaired.

        4.2 Class II. Class II shall consist of the disputed claims of Harry Jones
and Suzie Soldenski against Elite, to the extent that such claims exist. These claim
are listed as disputed. If Mr. Jones or Ms. Soldenski files a claim it will be paid as
Class I if and to the extent it is allowed following objection. If no claim is filed, no
distrbution will be made..

This Class is Impaired

      4.3 Class III: Class III consists of the sole equity claims of interest in Elite. As sole
member, Matthew Carmago shall retain his ownership interest in Elite.
                                              21
  23-31987-jda    Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34      Page 21 of 33
This Class is Unimpaired.


                                 ARTICLE V
                    EXECUTION AND IMPLEMENTATION OF THE PLAN


       5.1    Elite shall be responsible for satisfying the Allowed Claims in accordance
with the terms and provisions of this Plan. The Reorganized Debtor Elite will retain control
of and be responsible for all of Debtor’s activities pursuant to this Plan after the Effective
Date. Funding for the administration of the bankruptcy estates and of this Plan and for the
actions necessary shall come from funds on hand.

       5.2 The Reorganized Debtor Elite may pre-pay any Allowed Claim, other than
Allowed Claims held by Insiders or Affiliates, at any time without penalty or liability for
unmatured interest. The Reorganized Debtor may negotiate discounts in exchange for pre-
payments. Upon payment by the Reorganized Debtor to any Allowed Claim Holder in the
amounts required under this Plan or as otherwise agreed by the Allowed Claim Holder, the
Reorganized Debtor will have no further obligation to the Allowed Claim Holder under
this Plan, and the Allowed Claim Holder will have no further or continued rights or
standing under this Plan.

Voting and Acceptance of the Plan

        5.3    Elimination of Vacant Classes. Any Class of Claims that does not have a
Holder of an Allowed Claim or a Claim temporarily allowed by the Bankruptcy court as of
the date of the Confirmation Hearing shall be deemed eliminated from the Plan for
purposes of voting to accept or reject the Plan and for purposes of determining acceptance or
rejection of the Plan by such Class pursuant to Section 1129(a)(8) of the Bankruptcy Code.

       5.4    No Further Approvals. The transactions contemplated by the Plan shall be
approved and effective as of the Effective Date without the need for any further state or
local regulatory approvals or approvals by any non-Debtor parties, and without any
requirement for further action by the Debtor.
       5.5     Retention. The Reorganized Debtor may retain professionals after the
Effective Date to represent and assist the Reorganized Debtor in all aspects of its obligations
and rights under this Plan or to otherwise assist the Reorganized Debtor. Without
limitation, the Reorganized Debtor may retain professionals employed by the Debtor in the
Chapter 11 Case.

       5.6   Professional Fees. Any services performed or expenses incurred by any
Professional on behalf of the Reorganized Debtor with respect to the Chapter 11 Case after
the Confirmation Date will be Administrative Claims, will be paid by the Reorganized
Debtor and will not be subject to the prior review and approval of the Bankruptcy Court,
                                              22
  23-31987-jda    Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34     Page 22 of 33
after twenty (20) days’ notice to the Reorganized Debtor, c/o Matthew Camargo.
Notwithstanding any provision of the Bankruptcy Code or Rules, including, without
limitation, Bankruptcy Rule 2016, after the Confirmation Date, no Professional will be
required to disclose payments from the Reorganized Debtor to the Bankruptcy Court or
the United States Trustee. All fees and expenses of the Reorganized Debtor shall be billed
directly to the Reorganized Debtor and the Bankruptcy Court shall review only that portion
to which Reorganized Debtor objects. The Reorganized Debtor must pay the portion not
objected to in accordance with the terms of the invoice.

       5.7       Effectuating Documents: Matthew Camargo, as the owner of the
Reorganized Debtor, subject to the other terms of this Plan, shall be authorized as of the
Effective Date to execute, deliver, file, or record such financing statements, contracts,
instruments, releases, and other agreements or documents, and to take such actions as may
be necessary or appropriate on behalf of the Reorganized Debtor to effectuate and further
evidence the terms and conditions of this Plan without further notice to or order, action or
approval of the Bankruptcy Court.

Preservation of Rights of Action:

       5.8       Vesting of Causes of Action: In accordance with Section 1123(b) of the
Bankruptcy Code, all Causes of Action of the Debtor and the Debtor’ Estates will be
transferred to the Reorganized Debtor. The Reorganized Debtor shall retain and may (but
are not required to) enforce all rights to commence, pursue, compromise and collect, as
appropriate, any and all Causes of Action, whether arising before or after the Petition Date,
including, but not limited to, Avoidance Claims.

       5.9        All Causes of Action are Specifically Reserved, whether or not
specifically listed in the Plan: Unless any Causes of Action against a Person are expressly
waived, relinquished, exculpated, released, compromised or settled in the Plan, Exhibit, or
a Final Order, the Debtor specifically reserve all Causes of Action for later adjudication,
and, therefore, no preclusion doctrine, res judicata, estoppel (judicial, equitable or
otherwise) or laches will apply to any of the Causes of Action upon, after or as a
consequence of the Confirmation, entry of the Confirmation Order or the Effective Date.

       5.10           Limited Modification of the Automatic Stay: In order to allow these
Causes of Action to be pursued, upon the Effective Date the Automatic Stay imposed by 11
U.S.C. § 362 shall be modified so that the Debtor are allowed to pursue the Causes of Action
and so that the defendant(s) in said Causes of Action may assert any defenses or any other
responsive pleading not subject to discharge or otherwise determined in this case, which
they may have against the claims made. Nothing in this Plan constitutes a determination
of the validity or potential damages relating to any Cause of Action.

Termination of Subchapter V Trustee.

                                             23
 23-31987-jda    Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34     Page 23 of 33
        5.12 If the Plan is confirmed under Section 1191(a), the Subchapter V Trustee shall
continue to exercise those powers and perform those duties specified in Section 1183 of the
Bankruptcy Code through substantial consummation of the Plan, at which point his services
shall terminate.

       5.13 If the Plan is confirmed under Section 1191(b), the Subchapter V Trustee shall
not be terminated until he has performed such duties as are described in Sections 1183 and
1194(b) of the Bankruptcy Code, and such other duties as he may have been assigned by the
Bankruptcy Court prior to the Effective Date.

Pre-Effective Date Injunctions or Stays

       5.14 All injunctions or stays, whether by operation of law or by order of the
Bankruptcy Court, provided for in the Chapter 11 Case pursuant to Sections 105 or 362 of
the Bankruptcy Code or otherwise that are in effect on the Confirmation Date shall remain
in full force and effect until the Effective Date.

                                  ARTICLE VI
                    EFFECT OF CONFIRMATION OF THE PLAN ON
                             CLAIMS AND INTERESTS

       6.1     Discharge Under §1191(a): In the event this Plan is confirmed under Section
1191(a) of the Bankruptcy Code, the confirmation of this Plan will, and does hereby act as a
full, total and complete settlement, satisfaction, discharge and release of all Claims of all
Creditors against the Debtor and the Reorganized Debtor. Confirmation will also act as an
injunction against all Creditors from taking any actions to collect or enforce Claims against
the Debtor or the Reorganized Debtor except as set forth in this Plan. Except as otherwise
provided in the Plan or the Confirmation Order, Confirmation shall, as of the Effective Date,
discharge the Debtor from all Claims or other debts that arose before the Effective Date,
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, and all debts
of the kind specified in Sections 502(g), 502(h) or 501(i) of the Bankruptcy Code, in each case
whether or not a Proof of Claim is filed or deemed filed pursuant to Section 501 of the
Bankruptcy Code.

       6.2      Discharge Under §1191(b): In the event this Plan is confirmed under Section
1191(b) of the Bankruptcy Code, as soon as practicable after completion of Debtor’
Payments due during the first five (5) years of the Plan, the Court shall grant the Debtor a
discharge of all debts provided in Section 1141(d)(1)(A) and allowed under Section 503 of the
Bankruptcy Code (the “Discharge Order”). Notwithstanding the foregoing, the court shall
not grant the Debtor a discharge of any secured debt for which the last payment is due after
the first five (5) years of the plan or (ii) a debt of the kind specified in Section 523(a) of the

                                               24
 23-31987-jda     Doc 32     Filed 03/14/24    Entered 03/14/24 10:11:34       Page 24 of 33
Bankruptcy Code.

       6.3     Effect of Discharge. Upon the Effective Date, if the Plan is confirmed under
Section 1191(a) or upon entry of a Discharge Order if the Plan is confirmed under Section
1191(b), and except as otherwise provided in the Plan or the Confirmation Order, all
Persons and Entities shall be precluded from asserting against the Debtor, or their respective
successors or property, any other or further Claims, demands, debts, rights, causes of
action, liabilities or equity interests based upon any act, omission, transaction or other
activity of any kind or nature that occurred prior to the Effective Date. In accordance with
the foregoing, except as provided in the Plan or the Confirmation Order, the Confirmation
Order will be a judicial determination, as of the Effective Date, of a discharge of all such
Claims and other debts, interests, and liabilities against the Debtor pursuant to Sections 524
and 1192 of the Bankruptcy Code, and such discharge will void any judgment obtained
against the Debtor at any time, to the extent that such judgment relates to a discharged
debt.
       6.4      Injunction. Except as otherwise provided in the Plan or the Confirmation
Order, as of the Confirmation Date, all Persons and Entities that have held, currently hold,
or may hold Claims, Interests, Causes of Action or liabilities that are treated pursuant to the
terms of the Plan are permanently enjoined from taking any of the following actions against
the Debtor and Reorganized Debtor or their property on account of any such discharged
Claims, debts, liabilities, or terminated Interests, Causes of Action, liabilities or rights: (i)
commencing or continuing, in any manner or in any place, any action or other proceeding
based upon said discharged Claims, debts, liabilities, or terminated Interests, Causes of
Action, liabilities or rights; (ii) enforcing, attaching, collecting or recovering in any manner
any judgment, award, decree, or order based upon said discharged Claims, debts,
liabilities, or terminated Interests, Causes of Action, liabilities or rights; (iii) creating,
perfecting or enforcing any Lien or encumbrance based upon said discharged Claims,
debts, liabilities, or terminated Interests, Causes of Action, liabilities or rights; (iv) asserting
a setoff, right of subrogation, or recoupment of any kind against any debt, liability or
obligation due to Debtor or any one of them based upon said discharged Claims, debts,
liabilities, or terminated Interests, Causes of Action, liabilities or rights; and (v)
commencing or continuing any action in any manner, in any place that does not comply,
or is not consistent, with the provisions of this Plan.
        6.5 Injunction as to Matthew Camargo and Veronica Campanaro. Debtor will
be seeking in its proposed ballots and order of confirmation a consensual injunction against
the continuation of, or initiation of, claims by creditors of Elite against Elite’s principal,
Matthew Camargo, or his spouse, Veronica Campanero, in connection with any such
claims and such claims against Matthew Camargo and Veronica Campanero be released
upon completion of this Plan. Debtor recognizes that Chapter 11 third party releases is an
issue that has divided bankruptcy courts, and for that reason is at this point seeking the
consent of creditors for this relief without prejudice to its ability to seek this relief in other
manners in potential amended plans. Debtor contends that such relief is reasonable under
the 6th Circuit’s decision in Dow Corning ((280 F.3d 648, 658 (6th Cir. 2002)) as the dividend
                                                25
 23-31987-jda     Doc 32     Filed 03/14/24     Entered 03/14/24 10:11:34       Page 25 of 33
in this case far exceeds liquidation value, and Debtor’s principal is committed to putting
substantial efforts into the success of this plan while he could have chosen to liquidate the
Debtor resulting in a far lower distribution to creditors than this plan proposes. Debtor
also contends that the time and effort its principal may have to expend in challenging
personal claims would detract the operations of Debtor.


                                 ARTICLE VII
                     PROVISIONS GOVERNING DISTRIBUTION

       7.1        No Interest On Unsecured Claims. Unless otherwise specifically provided
for in this Plan or as otherwise required by Section 506(b) of the Bankruptcy Code, interest
will not accrue or be paid on any General Unsecured Claim.

        7.2 Delivery Of Distributions in General. Except as otherwise provided in the
Plan, and notwithstanding any authority to the contrary, distributions to Holders of
Allowed Claims and Allowed Interests will be made by Reorganized Debtor (a) at the
addresses set forth on the Proofs of Claim Filed by the Holders of Claims or Interests (or at
the last known addresses of such Holders of Claims or Interests if no Proof of Claim is Filed
or if Debtor has been notified in writing of a change of address), (b) at the addresses set
forth in any written notices of address changes delivered to Debtor after the date of any
related Proof of Claim, or (c) at the addresses reflected in the Schedules if no Proof of Claim
has been Filed and Debtor has not received a written notice of a change of address.
Distributions under the Plan on account of Allowed Claims will not be subject to levy,
garnishment, attachment, or like legal process, so that each Holder of an Allowed Claim
will have and receive the benefit of the distributions in the manner set forth in the Plan.
       7.3        Undeliverable Distributions and Non-Negotiated Checks. If any
distribution to a Holder of a Claim or Interest is returned as undeliverable, no further
distributions to such Holder of such Claim or Interest will be made unless and until Debtor
are notified of the then-current address of such Holder of the Claim, at which time all missed
distributions will be made to the Holder of the Claim without interest. If checks issued by
the Reorganized Debtor on account of Claims are not negotiated within one hundred and
twenty days after the issuance of the check, the check will be null and void. Amounts in
respect to undeliverable distributions and non-negotiated checks will be held by the
Reorganized Debtor until the earlier of (i) when such distributions are claimed by the valid
Holder of the Claim or (ii) ninety days after the check is returned or voided due to non-
negotiation, after which date all such undistributed and non- negotiated amounts will
revert to the Reorganized Debtor free of any restrictions and the Claim of any Holder or
successor to such Holder with respect to the distribution will be deemed discharged and
forever barred from seeking payment, notwithstanding federal or state escheat laws to the
contrary. Nothing contained herein requires the Reorganized Debtor to attempt to locate
any Holder of an Allowed Claim.


                                              26
 23-31987-jda     Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34     Page 26 of 33
       7.4   Fractional Payments. Notwithstanding any other provision of the Plan to the
contrary, payments of fractions of dollars are not required. Payment of fractions of dollars
that would otherwise be distributed under the Plan will be rounded to the lower whole
number of dollars.

       7.5     Restrictions on Distributions. Notwithstanding anything in this Plan to the
contrary, Debtor are not required to make any distribution to a Claim Holder in an amount
less than $10.00. In the event a distribution is less than $10.00, such distribution(s) shall be
held until the next scheduled distribution date, and paid with such following distribution.



                                   ARTICLE VIII
                              OBJECTIONS TO CLAIMS

       8.1 Timing of Objections: The Reorganized Debtor may object to the allowance
of any Claim, whether listed on the Schedules filed by Debtor, or filed by any Creditor, on
or before the later of (a) three months from the date of filing of any Proof of Claim or (b)
three months after the Effective Date.

       8.2    Objections to Liens: The Reorganized Debtor may object to any Lien or
security interest within the time period set forth in Section 8.1 or after any attempt by a
Creditor to enforce the Lien, except that Debtor may not file an objection to any Lien that is
the basis of a Claim Allowed under the terms of this Plan.
       8.3    Claims Bar Date: Except as provided herein or otherwise agreed by Debtor
in writing, any and all Proofs of Claim filed after the applicable Bar Date shall be deemed
disallowed and expunged as of the Effective Date (or, for a Claims Bar Date after the
Effective Date, as of the applicable Claims Bar Date) without any further notice to or action,
order, or approval of the Bankruptcy Court, and Holders of such Claims may not receive
any distributions on account of such Claims, unless on or before the Confirmation Date
such late Claim has been held timely Filed by a Final Order. It is the responsibility of the
Creditor holding any such late Claim to request that such late claim be held timely Filed.

        8.4 No Distribution Pending Allowance. Notwithstanding any other provision
of the Plan, neither the Debtor, the Reorganized Debtor nor the Subchapter V Trustee shall
be obligated to make any payments toward the disputed portion of a Disputed Claim;
provided, however, that the Debtor or the Subchapter V Trustee, as applicable, may, at their
discretion, pay any undisputed portion of a Disputed Claim in accordance with the terms
of the Plan. To the extent that all or a portion of a Disputed Claim is disallowed, the Holder
of such Claim shall not receive any distribution on account of the portion of such Claim
that is disallowed and any distribution withheld pending the resolution of such Claim shall
be reallocated pro rata to the Holders of Allowed Claims in the same Class.

       8.5    Distribution after Allowance. To the extent that a Disputed Claim becomes
                                              27
 23-31987-jda     Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34      Page 27 of 33
an Allowed Claim, distributions, if any, shall be made to the Holder of such Allowed Claim
in accordance with the provisions of the Plan and the Confirmation Order. As soon as
practicable after the date that an order or judgment of the Bankruptcy Court allowing any
Disputed Claim becomes a Final Order, the Debtor or the Subchapter V Trustee, as
applicable, shall provide to the Holder of such Claim the distribution (if any) to which such
Holder is entitled under the Plan.

       8.6    Disallowed Claims. Any Claim held by a Person or Entity against the Debtor,
or any one or more of them, that has commenced a proceeding asserting a Cause of Action
under Sections 542, 543, 544, 547, 548, 549, 550, 551, and/or 553 of the Bankruptcy Code shall
be deemed disallowed pursuant to Section 502(d) of the Bankruptcy Code, and the Holder
of such Claim shall not be entitled to vote to accept or reject the Plan. Claims that are
deemed disallowed shall continue to be disallowed for all purposes until such Cause of
Action has been settled or resolved by Final Order and any sums due to the Debtor, or any
of them, from such party have been paid.

                                  ARTICLE IX
                          MODIFICATION OF THE PLAN
        9.1 Modification of Plan. Except as otherwise provided in this Plan, Debtor may,
from time to time, propose amendments or modifications to this Plan prior to the
Confirmation Date, without leave of the Bankruptcy Court. Subject to certain restrictions
and requirements set forth in Section 1193 of the Bankruptcy Code and Bankruptcy Rule
3019 and those restrictions on modification set forth in the Plan, Debtor expressly reserve
their rights to revoke or withdraw, or to alter, amend or materially modify the Plan, one or
more times before the Confirmation Date. After the Confirmation Date, the Reorganized
Debtor may, with leave of the Bankruptcy Court and upon notice and opportunity for
hearing to the affected Creditor(s), remedy any defect or omission, reconcile any
inconsistencies in the Plan or in the Confirmation Order, or otherwise modify the Plan.

       9.2      Effect of Confirmation on Modifications. Entry of a Confirmation Order
shall mean that all modifications or amendments to the Plan since the solicitation of the
Plan are approved pursuant to Section 1193(a) of the Bankruptcy Code and do not require
additional disclosure or re-solicitation under Bankruptcy Rule 3019.


       9.3      Revocation or Withdrawal of the Plan. Debtor reserve the right to revoke
or withdraw the Plan prior to the Confirmation Date and to File subsequent chapter 11
plans. If Debtor revoke or withdraw the Plan, then: (1) the Plan will be null and void in all
respects; (2) any settlement or compromise embodied in the Plan (including the fixing or
limiting to an amount certain of any Claim or Interest or Class of Claims or Interests),
assumption, assignment, or rejection of executory contracts or unexpired leases affected by
the Plan, and any document or agreement executed pursuant to the Plan, will be deemed
null and void; and (3) nothing contained in the Plan will: (i) constitute a waiver or release
of any Claims, Interests, or Causes of Action; (ii) prejudice in any manner the right of
                                             28
 23-31987-jda    Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34      Page 28 of 33
Debtor or any other Person; or (iii) constitute an admission, acknowledgement, offer, or
undertaking of any sort by Debtor or any other Person.


                                        ARTICLE X
                                EXECUTORY CONTRACTS

       10.1     Assumption or Rejection of Executory Contracts and Unexpired Leases.
Debtor’s only executory contract is a lease to John Schmitt for an office located at 2467 Hill
Road in Grand Blanc, Michigan., which lease is assumed. That lease also expires in June,
2024, and Elite does not anticipate renewing that lease.

       10.2      Rejection Claims. Any Creditor who has a Claim as a result of the rejection
of a contract shall have until thirty (30) days after the Effective Date to file a Proof of Claim
asserting the rejection damages relating to the contract, failing which such Claim will be
disallowed in its entirety. Creditors whose contracts are assumed or rejected under a Court
Order entered before the Effective Date are required to follow the procedures set forth in the
Court Order if they differ from the procedures set forth above.

       10.3 Objections to Rejection Claims and Cure Claims. The Reorganized Debtor
may file an objection to any Proof of Claim filed in accordance with this Article and in
accordance with Article VIII.

                                      ARTICLE XI
                                   TITLE TO PROPERTY

       11.1 Revesting of Assets. Except as otherwise explicitly provided for in this Plan,
on the Effective Date, all property held by the Estates (including all Causes of Action) will
vest in the Reorganized Debtor free and clear of all Claims, Liens, charges, encumbrances,
rights, and Interests of Creditors, except for the retained Interests of equity security
Holders. As of and following the Effective Date, the Reorganized Debtor, as provided for
under the terms of this Plan, may conduct the Debtor’ activities and use, acquire, and
dispose of property and settle and compromise Claims or Interests without the supervision
of the Bankruptcy Court, free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules, other than those restrictions expressly imposed by this Plan and the Confirmation
Order.

       11.2 Effect of Conversion. In the event of a conversion of any of these cases to a
Chapter 7 proceeding, all property of the Debtor or Reorganized Debtor, including
property which will revest in the Reorganized Debtor pursuant to Confirmation of this
Plan and all property acquired by the Reorganized Debtor subsequent to Confirmation,
shall be property of the Chapter 7 estate, subject to the Liens and security interests granted
under this Plan.


                                               29
 23-31987-jda     Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34       Page 29 of 33
                                   ARTICLE XII
                           JURISDICTION OF THE COURT
       12.1    Jurisdiction. Notwithstanding the entry of the Confirmation Order and the
occurrence of the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction
over all matters arising out of, or related to, the Chapter 11 Cases and the Plan pursuant to
Sections 105(a) and 1142 of the Bankruptcy Code, including without limitation, jurisdiction
with respect to:


       12.2    The classification of the Claim of any Creditor and the re- examination of
Claims Allowed for purposes of voting, and the determination of such objections as may be
filed to Claims of Creditors. The failure by Debtor to object to, or to examine any Claim for
the purposes of voting, will not be deemed to be a waiver of any right to object to, or
reexamine the Claim, in whole or in part. Furthermore, the fact that this Plan has provided
a treatment for the benefit of a particular Creditor will not in any way be deemed to be a
waiver of any right to object to or re-examine the Claim or any secured interest which
secures such Claim, in whole or in part.


       12.3     The determination of all questions and disputes regarding title to the assets
of the Estate, and all causes of action, controversies, disputes, or conflicts, whether or not
subject to action pending as of the Confirmation Date, between Debtor, or any one of them,
and any other party.


       12.4    The correction of any defect, the curing of any omission or the reconciliation
of any inconsistency in this Plan or the Confirmation Order as may be necessary to carry out
the purposes and intent of this Plan.


       12.5    The enforcement and interpretation of the terms and conditions of this Plan
and the entry of orders in aid of confirmation of this Plan.


       12.6      The entry of any order, including injunctions, necessary to enforce the title,
rights, and powers of Debtor or any party-in-interest, and to impose such limitations,
restrictions, terms and conditions of such title, rights and powers as this Court may deem
necessary.


       12.7     The review and approval of all Professional Fee applications for services
rendered before the Confirmation Date and the review of any Professional Fees for services
rendered in connection with the Plan after the Confirmation Date to the extent that Debtor
dispute all or a portion thereof.


                                              30
 23-31987-jda     Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34     Page 30 of 33
      12.8    The entry of an order concluding and terminating these Cases.Standing.
Plan Beneficiaries have standing to enforce their rights under this Plan or to seek relief in
the event that any Person or Entity fails to comply with their obligations under this Plan.

                                   ARTICLE XIII
                           MISCELLANEOUS PROVISIONS

        13.1    Default. Should a Beneficiary of this Plan believe that a default has
occurred under the Plan as a result of Debtor’s action or inaction, the Beneficiary shall send
written notice of the alleged default by first class mail to the Debtor and its counsel. The
Debtor shall have thirty five (35) days from the date of receipt of any such written notice of
default to cure the alleged default. If the alleged default is not so cured, the Beneficiary
who provided the written notice may file a motion to convert this case to a case under
Chapter 7 of the United States Bankruptcy Code. The Court shall grant the Motion to allow
for liquidation of the Debtor’s non-exempt assets if the Beneficiary demonstrates that an
uncured default under the Plan exists.

        13.2      Immediate Binding Effect. Notwithstanding Bankruptcy Rules 3020(e),
6004(h), or 7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plan
shall be immediately effective and enforceable and deemed binding upon Debtor and any
and all Holders of Claims and Interests (irrespective of whether any such Holders of Claims
or Interests failed to vote to accept or reject the Plan, voted to accept or reject the Plan, or is
deemed to accept or reject the Plan), and all Persons that are parties to or are subject to the
settlements, compromises, releases, discharges, and injunctions described in the Plan.

        13.3   Additional Documents. On or before the Effective Date, Debtor may File
with the Bankruptcy Court such agreements and other documents as may be necessary or
appropriate to effectuate and further evidence the terms and conditions of the Plan. Debtor
and all Holders of Claims or Interests receiving distributions pursuant to the Plan and all
other parties in interest shall, from time to time, prepare, execute and deliver any
agreements or documents and take any other actions as may be necessary or advisable to
effectuate the provisions and intent of the Plan.
        13.4    Reservation of Rights. Except as expressly set forth in the Plan, the Plan
will have no force or effect unless the Bankruptcy Court enters the Confirmation Order.
None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking
of any action by any of the Debtor with respect to the Plan shall be, or shall be deemed to
be, an admission or waiver of any rights of any Debtor with respect to the Holders of Claims
or Interests before the Effective Date.


        13.5    Successors and Assigns. The rights, benefits and obligations of any Person
named or referred to in the Plan will be binding on, and will inure to the benefit of, any heir,
executor, administrator, successor or assign, affiliate, officer, director, agent,
representative, attorney, beneficiary, or guardian, if any, of such Person.
                                                31
  23-31987-jda    Doc 32     Filed 03/14/24    Entered 03/14/24 10:11:34        Page 31 of 33
       13.6  Service of Documents. After the Effective Date, any pleading, notice, or
other document required by the Plan to be served on or delivered to the Debtor or the
Reorganized Debtor must be sent by overnight mail, postage prepaid to:

Matthew Camargo
7249 Ponderosa
Swartz Creek, MI 48473

       13.7   Entire Agreement. Except as otherwise stated in this Plan, this Plan
supersedes all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which have
become merged and integrated into the Plan.

       13.8 Nonseverability of Plan Provisions. If, prior to Confirmation, any term or
provision of the Plan is held by the Bankruptcy Court to be invalid, void, or unenforceable,
the Bankruptcy Court will have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term
or provision shall then be applicable as altered or interpreted. Notwithstanding any such
holding, alteration or interpretation, the remainder of the terms and provisions of the Plan
will remain in full force and effect and will in no way be affected, impaired or invalidated
by such holding, alteration or interpretation. The Confirmation Order shall constitute a
judicial determination and shall provide that each term and provision of the Plan, as it may
have been altered or interpreted in accordance with the foregoing, is: (1) valid and
enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified
without Debtor’ consent; and (3) nonseverable and mutually dependent.

       13.9 Closing of Chapter 11 Case. Debtor shall, after the full administration of the
Chapter 11 Case, File with the Bankruptcy Court, all documents required by Bankruptcy
Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11 Case.

       13.10 Waiver or Estoppel. Each Holder of a Claim or an Interest shall be deemed
to have waived any right to assert any argument, including the right to argue that its Claim
or Interest should be Allowed in a certain amount, in a certain priority, secured, or not
subordinated by virtue of an agreement made with Debtor, their counsel, or any other
Person, if such agreement was not disclosed in the Plan or papers Filed with the Bankruptcy
Court prior to the Confirmation Date.

       13.11 Conflicts and Interpretation of the Plan. Except as set forth in the Plan, to
the extent that any provision of any order (other than the Confirmation Order) referenced
in the Plan or any Exhibits, schedules, appendices, supplements, or amendments to any of
the foregoing, conflict with or are in any way inconsistent with any provision of the Plan,
the Plan will govern and control.
                                             32
 23-31987-jda    Doc 32    Filed 03/14/24    Entered 03/14/24 10:11:34      Page 32 of 33
      13.12 Termination of Liens and Encumbrances. Debtor and all parties-in- interest,
including any Creditor, must execute any document reasonably requested by the other to
memorialize and effectuate the terms and conditions of this Plan. This includes the
execution by Creditors of any Uniform Commercial Code termination statement.

       13.13 Causes of Action; Standing. Except as otherwise provided in this Plan,
Reorganized Debtor has the right and authority to commence, continue, amend or
compromise all Causes of Action available to Reorganized Debtor, the Estates or the Debtor-
in-possession, including without limitation all Avoidance Claims whether or not those
Causes of Action or Avoidance Claims were the subject of a suit as of the Confirmation
Date.


Submitted by:                                Prepared by:
Elite Roof Group, LLC
                                             Simen, Figura and Parker, P.L.C.

/s/ Matthew Carmargo
 By:    Matthew Camargo                      By: /s/ Peter T. Mooney
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 Dated:    March 13, 2024




                                             33
 23-31987-jda    Doc 32     Filed 03/14/24   Entered 03/14/24 10:11:34   Page 33 of 33
